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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 21-cv-23861

  10 MINUTE FITNESS INC. d/b/a
  ZAAZ,

         Plaintiff,

  vs.

  AMENTUM SERVICES, INC. f/k/a
  URS FEDERAL SERVICES, INC.,

        Defendant.                                               JURY TRIAL DEMANDED
  ___________________________________________/

  AMENTUM SERVICES, INC. f/k/a
  URS FEDERAL SERVICES, INC.,

         Third-Party Plaintiff,

  vs.

  NAR ELECTRONICS HOLDING
  GROUP INC. and NAR ELECTRONICS
  SOLUTIONS, LLC,

         Third-Party Defendants.

  ___________________________________________/

                                   THIRD-PARTY COMPLAINT

         Third-Party Plaintiff, Amentum Services, Inc. f/k/a URS Federal Services, Inc.

  (“Amentum”), files this third-party complaint against NAR Electronics Holding Group Inc. and

  NAR Electronics Solutions, LLC (collectively, “NAR”) for breach of contract and declaratory

  relief. NAR (the subcontractor in a government project) agreed to indemnify and hold Amentum

  (the government contractor) harmless for the damages requested in the Amended Complaint (ECF
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  No. 21) and to defend Amentum in the instant lawsuit. NAR, however, has rejected Amentum’s

  demand for defense and indemnity, thereby breaching its contractual obligations to Amentum.

                                   JURISDICTION AND VENUE

          1.      This Court has supplemental jurisdiction over this action under 28 U.S.C. § 1367(a)

  because the claims raised herein are so related to those presented in Plaintiff’s, 10 Minute Fitness

  Inc. d/b/a ZAAZ (“ZAAZ”), action against Amentum (the “Underlying Lawsuit”) that they form

  part of the same case or controversy under Article III of the United States Constitution.

  Additionally, this Court has jurisdiction under 28 U.S.C. § 2201 because Amentum seeks a

  declaration from this Court over a bona-fide, actual, and present dispute.

          2.      Venue is proper in this district because NAR operates in Miami, Florida, and is

  registered to do business in Florida. Additionally, a substantial part of the events occurred within

  this district. Venue thus properly lies in this district pursuant to 28 U.S.C. § 1391(b)(2) and (d).

                                            THE PARTIES

          3.      Third-Party Plaintiff, Amentum, is a Delaware corporation with its principle place

  of business in Maryland.

          4.      Third-Party Defendant, NAR Electronics Holding Group Inc., is a Delaware

  corporation with its principle place of business in Florida.

          5.      Third-Party Defendant, NAR Electronics Solutions, LLC, was a Florida limited

  liability company with its principle place of business in Florida. On April 6, 2017, NAR

  Electronics Solutions, LLC converted to NAR Electronics Holding Group Inc.




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                                   GENERAL ALLEGATIONS

  A. Material Allegations From The Underlying Lawsuit Against Amentum

          6.      On January 24, 2022, ZAAZ filed an Amended Complaint in the Underlying

  Lawsuit against Amentum. (ECF No. 21).

          7.      According to the Amended Complaint, “US Customs and Border Protection

  [“Customs”] seized 3 containers (2 from Savannah, 1 from Miami), each containing 225 ZAAZ

  20K machines [“Machines”], claiming counterfeit trademark due to an alleged improper depiction

  of a UL certification number stamped on the base of each machine.” (Id. ¶ 14).

          8.      As ZAAZ alleges, it “tried in vain” to “correct” the trademark issue but Customs

  implemented a “zero tolerance policy” and ordered that all of the Machines be “destroyed.” (Id.

  ¶¶ 17–19). To that end, ZAAZ alleges Customs tasked Amentum with “destroy[ing] the

  [Machines],” who later “provided [to Customs] . . . destruction certificates evidencing” that it did

  so. (Id. ¶¶ 24 –26.) Indeed, ZAAZ alleges it followed up with Customs “[o]n October 1, 2018, . .

  . who advised that all of the machines had been sent to Miami and had been destroyed.” (Id. ¶ 21).

          9.      Despite those alleged representations, ZAAZ alleges it later discovered that “the

  ‘destroyed’ [Machines] were, in fact, being sold on EBAY and Amazon.” (Id. ¶ 22). To confirm

  they were the same Machines, ZAAZ alleges that it “purchased one [such Machine] from eBay

  and one machine from Amazon and confirmed from the serial numbers and the presence of the

  offending UL stamps that the machines were indeed from the seized containers that were

  supposedly destroyed.” (Id. ¶ 39.)

          10.     According to ZAAZ, these online re-sellers offered steep discounts on its products

  causing it to lose roughly $1.5 million in sales (id. ¶ 29), incur “emergency high-interest loans to

  compensate” (id. ¶ 31), and take on “tremendous damage to [its] reputation” given customers were



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  misled into purchasing this product from third-party re-sellers instead of directly from ZAAZ.

  ZAAZ alleges it suffered over $12.3 million in total damages as a result. See generally id.

          11.     The allegations ZAAZ put forward in the Underlying Lawsuit, as summarized

  above, have triggered NAR’s duty-to-defend and indemnify Amentum pursuant to a General

  Services Agreement NAR executed with Amentum in 2017 (the “Subcontract” a copy of which is

  attached as Exhibit 1). Additionally, if proven true, the allegations ZAAZ put forward in the

  Underlying Lawsuit demonstrate NAR materially breached its performance obligations to

  Amentum as it failed to carry out the destruction of the Machines in accordance with the

  Subcontract.

  B. NAR Was Responsible for Destroying the Machines But, Allegedly, Never Did.

          12.     In 2013, the United States entered into a contract with Amentum (the “Government

  Contract”) for the provision of property management and disposition services in support of the

  seizure and forfeiture program for the Treasury Executive Office for Asset Forfeiture. Under the

  Government Contract, the Office for Asset Forfeiture would, at times, outsource to Amentum the

  disposition of seized, blocked, or forfeited property, including property seized by Customs.

          13.     Notably, Amentum works with other service providers throughout the country to

  help it carry out its services under the Government Contract. Amentum and NAR entered into the

  Subcontract precisely for those ends. (See Exhibit 1, §§ 1, 3, Attachment A).

          14.     Pursuant to the Subcontract, NAR retrieved the Machines from Amentum on or

  around March 28, 2018 and July 18, 2018, along with other goods that Customs ordered to be




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  destroyed. 1 At that point, Amentum relinquished possession of the Machines to NAR, which, in

  turn, transported the Machines to its destruction facility in Florida.

            15.     On or around May 31 and September 28, 2018, respectively, NAR provided to

  Amentum “Certificates of Destruction” certifying to Amentum and the U.S. Government that it

  “fully destroyed” the Machines it retrieved in March and July 2018 in accordance with the

  Subcontract. 2

            16.     Unbeknownst to Amentum and as ZAAZ alleges in the Underlying Lawsuit,

  however, the Machines were never fully destroyed.

  C. NAR’s Obligations to Amentum Under the Subcontract

            17.     Under Article 3 of the Subcontract, NAR “warrant[ed]” to Amentum that “(i) the

  Services shall be performed in accordance with the terms of this Agreement and any applicable

  Work Authorization; all applicable Federal, State, and local laws, rules regulations codes, etc.; and

  [with] the highest standards of the applicable industry; and (ii) [NAR] shall be responsible for the

  quality and completeness of all Services furnished under this Agreement.” (Exhibit 1 § 3).

            18.     Additionally, NAR also warranted that, “[i]n the event that [Amentum] determines

  that [NAR] ha[s] failed to meet any of the above standards, [NAR] agrees, upon written notice

  from [Amentum], to correct the faulty portion of the Services and that [NAR] shall be responsible

  for all resulting damages and losses, regardless of whether resulting wholly or only partially

  therefrom, all at no cost to [Amentum] and all without prejudice to any other right or remedy.”

  (Exhibit 1 § 3).




  1
   The Chain of Custody Reports for Destruction Plans FL-18-1344 REC and FL-18-1362 REC are attached
  as Composite Exhibit 2, and the Receiving Reports for Destruction Plans FL-18-1344 REC and FL-18-
  1362 REC are attached as Composite Exhibit 3.
  2
      The Certificates of Destruction are attached as Composite Exhibit 4.

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            19.     Beyond that, “[NAR] agree[d] to indemnify, defend, and hold [Amentum]

  harmless from and against any and all Damages based on or arising out of, in whole or in part,

  from any violation or alleged violation of law or any noncompliance by [NAR] . . . , whether based

  on contract, tort, negligence, strict liability, delay, warranty, indemnity, error and omission, or

  otherwise.” (Exhibit 1 § 10).

            20.     Similarly, under Attachment C to the Subcontract, NAR agreed to “indemnify

  [Amentum]” for any “[non-]compliance with Federal, State, and/or Local laws and regulations”

  or “any sort of legal or and/monetary penalty” in connection with “[NAR’s] and/or its

  subcontractors[’]” services under the Subcontract. (Exhibit 1, Attachment C).

            21.     Consistent with these obligations, Amentum sent a letter to NAR on March 30,

  2022, putting it on notice of the Underlying Lawsuit and demanding that NAR confirm that it

  would honor its obligations to defend and indemnify Amentum for any losses it has and will

  continue to incur in connection with the Underlying Lawsuit, including attorney’s fees, costs, and

  any other damages Amentum may suffer as a result. 3

            22.     To date, however, NAR has failed to respond or otherwise confirm that it will honor

  its contractual obligations. Because NAR’s negligent conduct is covered under the Subcontract,

  NAR must defend Amentum in the ongoing litigation—either by funding or providing a defense—

  and indemnify it “from and against any and all Damages” stemming from the litigation, including

  attorneys’ fees and costs.

                                 COUNT I – BREACH OF CONTRACT
                                  Duty to Defend and Indemnification

            23.     Amentum hereby incorporates by reference the factual allegations raised in

  paragraphs 1–22.


  3
      Amentum’s March 30, 2022, letter to NAR is attached as Exhibit 5.

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          24.     NAR has a contractual obligation to “defend, indemnify, and hold [Amentum]

  harmless” for “any violation or alleged violation of law or any noncompliance by [NAR] . . . ,

  whether based on contract, tort, negligence, strict liability, delay, warranty, indemnity, error and

  omission, or otherwise.” (Exhibit 1 § 10).

          25.     NAR’s duty-to-defend and indemnification obligations were triggered upon

  ZAAZ’s filing of the Underlying Lawsuit against Amentum given they directly concern NAR’s

  “violation[s] or alleged violation[s] of law . . . based on contract, tort, [and] negligence” in

  rendering services under the Subcontract. NAR must therefore “defend, indemnify, and hold

  [Amentum] harmless from and against any and all Damages” that flow as a result of those

  violations and alleged violations. (Exhibit 1 § 10).

          26.     On March 30, 2022, Amentum sent NAR a letter demanding that NAR defend and

  otherwise indemnify Amentum for damages arising from the Underlying Lawsuit under Articles

  3 and 10 of the Subcontract. (See Exhibit 5). Such damages include, among other things, attorneys’

  fees and costs Amentum has so far incurred in defending against the Underlying Lawsuit and any

  damages awarded against Amentum in the Underlying Lawsuit.

          27.     NAR has not responded or otherwise confirmed it will honor its defense and

  indemnity obligations. NAR has thus breached Sections 3 and 10 of the Subcontract.

          28.     Amentum thus requests that this Court enter a judgment against NAR requiring that

  NAR defend and indemnify Amentum and awarding damages in an amount to be determined at

  trial, plus interest, costs, and attorney’s fees, and any other remedy in law or equity this Court

  deems just and proper.




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                            COUNT II – DECLARATORY JUDGMENT
                                Duty to Defend and Indemnify

          29.     Amentum hereby incorporates by reference the factual allegations raised in

  paragraphs 1–22.

          30.     In accordance with 28 U.S.C. §§ 2201 and 2202, Amentum requests that the Court

  determine the rights, status, and legal relations between the parties under the Subcontract.

          31.     28 U.S.C. § 2201 provides that “any court of the United States, upon the filing of

  an appropriate pleading, may declare the rights and other legal relations of any interested party

  seeking such declaration, whether or not further relief is or could be sought. Any such declaration

  shall have the force and effect of a final judgment or decree and shall be reviewable as such.”

          32.     Furthermore, 28 U.S.C. § 2202 provides that “[f]urther necessary or proper relief

  based on a declaratory judgment or decree may be granted, after reasonable notice and hearing,

  against any adverse party whose rights have been determined by such judgment.”

          33.     There is a justiciable controversy about the rights and status of the parties

  concerning NAR’s duty to defend and indemnify Amentum under the Subcontract. Specifically,

  under the Subcontract, NAR has a contractual obligation to “defend, indemnify, and hold

  [Amentum] harmless” for “any violation or alleged violation of law or any noncompliance by

  [NAR] . . . , whether based on contract, tort, negligence, strict liability, delay, warranty, indemnity,

  error and omission, or otherwise.” (Exhibit 1 § 10); see also Exhibit 1, Attachment C (expressly

  providing that NAR will “indemnify” Amentum for “any sort of legal or . . . monetary penalty”

  Amentum may incur as a result of NAR’s or its subcontractors’ services under the Subcontract).

          34.     In the Underlying Lawsuit, ZAAZ alleges that NAR failed to fully destroy the

  Machines and asserted a claim for negligence against Amentum for the losses it claims to have

  suffered as a result. (Supra ¶¶ 6–11). Those allegations have thus triggered NAR’s duty-to-defend


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  and indemnify Amentum under the Subcontract because the Underlying Lawsuit concerns

  “violation[s] or alleged violation[s] of law . . . based on contract, tort, [and] negligence,” as well

  as “legal” or “monetary penalt[ies]” that Amentum has or may incur as a result of NAR’s or its

  subcontractors’ services under the Subcontract. (See Exhibit 1 § 10 and Attachment C).

          35.     On March 30, 2022, Amentum sent NAR a letter demanding that NAR defend and

  indemnify Amentum in ZAAZ’s lawsuit against it under Articles 3 and 10 of the Subcontract. To

  date, NAR has refused to acknowledge its obligations to defend and indemnify Amentum or

  otherwise respond to Amentum’s demand. Thus, NAR maintains that it does not have a duty to

  defend or indemnify Amentum under the Subcontract.

          36.     The parties’ controversies are real and substantial, involving a genuine conflict of

  tangible interests. As a result of the controversies relating to the Subcontract, there is a bona fide,

  actual, present practical need for the declaration. The declaration sought in this action deals with

  present, ascertained or ascertainable facts, or a present controversy as to a state of facts.

          37.     Amentum’s rights and/or obligations concerning the Subcontract are dependent

  upon the facts or the law applicable to the facts. Amentum and NAR have an actual, present,

  adverse and antagonistic interest in the subject matter, either in fact or law. All antagonistic and

  adverse interests are presently before the Court. The relief sought is not merely seeking an advisory

  opinion, legal opinion or the answer to questions propounded by curiosity.

          38.     Amentum thus hereby requests that this Court enter a judgment against NAR

  declaring that it has a contractual duty to defend and indemnify Amentum for all damages

  Amentum has and may otherwise suffer in connection with the Underlying Lawsuit including (i)

  reimbursement for attorney’s fees and costs, (ii) indemnification for damages that may result from




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   a potential judgment against Amentum, and (iii) any other damages the Court wishes to remedy in

   law or equity as it deems just and proper.

                           COUNT III – DECLARATORY JUDGMENT
                                  Breach of the Subcontract

           39.     Amentum hereby incorporates by reference the factual allegations raised in

   paragraphs 1-22.

           40.     In accordance with 28 U.S.C. §§ 2201 and 2202, Amentum requests that the Court

   determine the rights, status, and legal relations between the parties under the Subcontract.

           41.     28 U.S.C. § 2201 provides that “any court of the United States, upon the filing of

   an appropriate pleading, may declare the rights and other legal relations of any interested party

   seeking such declaration, whether or not further relief is or could be sought. Any such declaration

   shall have the force and effect of a final judgment or decree and shall be reviewable as such.”

           42.     Furthermore, 28 U.S.C. § 2202 provides that “[f]urther necessary or proper relief

   based on a declaratory judgment or decree may be granted, after reasonable notice and hearing,

   against any adverse party whose rights have been determined by such judgment.”

           43.     There is a justiciable controversy about the rights and status of the parties’

   obligations under the Subcontract. Specifically, under the Subcontract, Amentum subcontracted to

   NAR the destruction of the Machines that ZAAZ alleges in the Underlying Lawsuit were never

   fully destroyed. Thus, if the allegations in ZAAZ’s complaint are proven true, it is Amentum’s

   position that such a finding would prove that NAR materially breached the Subcontract by not

   destroying ZAAZ’s Machines and otherwise failed to comply with its obligations and the scope of

   services set forth under the Subcontract. (Exhibit 1 §§ 1, 3, Attachment A.)

           44.     Indeed, under Section 3, NAR “warrant[ed]” to Amentum that “(i) the Services

   shall be performed in accordance with the terms of this Agreement and any applicable Work


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   Authorization; all applicable Federal, State, and local laws, rules regulations codes, etc.; and [with]

   the highest standards of the applicable industry; and (ii) [it] shall be responsible for the quality and

   completeness of all Services furnished under this Agreement.” (Exhibit 1 § 3). And in accordance

   with Attachment A, NAR further committed to provide “[d]estruction/recycling of various

   Government property in accordance with the Statement of Work [as detailed in Attachment C] of

   this Agreement.” (Exhibit 1 § 1, Attachment A.) NAR would have materially breached those

   obligations if it, in fact, never fully destroyed the Machines as alleged in the Underlying Lawsuit.

           45.        Amentum’s rights and/or obligations concerning the Subcontract are dependent

   upon the facts or the law applicable to the facts. Amentum and NAR have an actual, present,

   adverse and antagonistic interest in the subject matter, either in fact or law. All antagonistic and

   adverse interests are presently before the Court. The relief sought is not merely seeking an advisory

   opinion, legal opinion or the answer to questions propounded by curiosity.

           46.        Amentum thus hereby requests that this Court (i) enter a judgment against NAR

   declaring that, should ZAAZ’s allegations that the Machines were not fully destroyed be proven

   true, NAR materially breached the Subcontract; and (ii) award any other remedy in law or equity

   this Court deems just and proper.

                                            PRAYER FOR RELIEF

           WHEREFORE, Third-Party Plaintiff Amentum brings this Third-Party Complaint against

   NAR and hereby requests this Court enter judgment containing:

           a. A finding of liability in its favor against NAR for the causes of action alleged in this

                   Third-Party Complaint;

           b. An award of actual and consequential damages;

           c. An order from this Court declaring that NAR must defend, indemnify, and hold



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                   Amentum harmless for all damages, including past, current, and future attorneys’ fees,

                   costs, and any damages that may result from the Underlying Lawsuit;

           d. An order from this Court declaring that if NAR failed to fully destroy the Machines as

                   alleged in the Underlying Lawsuit, NAR would be in material breach of the Subcontract

                   it has with Amentum;

           e. An award of attorneys’ fees and costs;

           f. An award of prejudgment and post-judgment interest; and

           g. Such other relief as the Court may deem just and proper.

   Dated: April 28, 2022                            Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

           I hereby certify that on April 28, 2022, a copy of the foregoing was served by CM/ECF

   and/or mail on anyone unable to accept electronic filing. Notice of this filing will be sent by email

   to all parties by operation of the Court’s electronic filing system or by mail to anyone unable to

   accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this

   filing through the Court’s CM/ECF System.

                                                         By:     /s Manuel A. Miranda




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